From: Nicholas Salzano <nicholas@nria.net>
Sent: Fri, 31 Jul 2015 16:46:44 -0400
To: Javier Torres <jtorres@mediaeffective.com>
CC: Bethany Salzano <bethany@nria.net>
Subject: RE: Edits and 30 second TV videos
Calls are strong now on " TOO GOODS" so CORRECT - don’t do anything yet with CNBCs'
Probably just cut over 100% of ZEE TVs after August 15th:
only rotating between ASIAN 60 sec , WHITE 30 sec and INDIAN 30 sec versions only
In This way we can give the " TOO GOODS" more time now to settle in
Then we change JUST ZEE 100% and see if there is an UPTICK FIRST before we fool with CNBC
Currently the extra $4k of Indian TV Star Net or whatever - is ON HOLD
Steady as she goes
Nicholas Salzano
Senior Independent Project Management Vice President




                                                                                                                  Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
National Realty Investment Advisors, LLC
1325 Paterson Plank Road
2nd Floor
Secaucus, New Jersey 07094
T. (201) 210-2727
-----Original Message-----
From: Javier Torres [mailto:jtorres@mediaeffective.com]
Sent: Friday, July 31, 2015 4:31 PM
To: Nicholas Salzano
Subject: RE: Edits and 30 second TV videos
Nicholas;




                                                                                                                                          Plaintiffs Ex. 19 Page 1 of 12
These are very well conceived spots and the testimonials look great.
We are currently running 3 versions of spots on all 5 markets with 2 versions that really started rotating last
week. I think that more versions would affect the response, as viewers wouldn’t have enough
impact/repetition from a particular message to motivate them to pick up the phone and call. As you know
constant repetition and heavy frequency are key to obtain good response.
If we are running 25 times/week on one market we are running just 8 times per week each version right now.
The "Too Good To Be True" spots are really good and we have to give them some exposure to really test
their full potential.
Perhaps we can start on Zee TV and if we start running on other Indian channel we can rotate these new
versions? We have a good number of weekly spots with Zee and with the $4k assigned we can get around 85
spots on the other Indian news channel. (still deciding which one would be best, probably NDTV/the CNN of
India)
And start rotating these new versions a little bit later on CNBC's?




                                                                                                                                                                                    Plaintiff's Ex. 19
I'll proceed as you advise.
By the way; if the testimonials are real, can you use a note/graphic: "Real Testimonial from Actual client"
Thanks,
Javier Torres
Director Media Effective
201.746.6592
-----Original Message-----
From: Nicholas Salzano [mailto:nicholas@nria.net]
Sent: Friday, July 31, 2015 3:45 PM
To: Kelly Ralabate; jmf@usconstructioninc.com
Cc: Dustin@usconstructioninc.com; James Doolittle; Javier Torres
(jtorres@mediaeffective.com)
Subject: RE: Edits and 30 second TV videos
Hi Kelly,




                                                                                                                  Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
These are all terrific. Very well done and I have downloaded them all.
Javier will begin to interact with you on receiving them in the CNBC and ZEE television formats.
Nicholas Salzano
Senior Independent Project Management Vice President
National Realty Investment Advisors, LLC
1325 Paterson Plank Road
2nd Floor
Secaucus, New Jersey 07094
T. (201) 210-2727
F. (800) 349-0925
C. (973) 689-5482




                                                                                                                                          Plaintiffs Ex. 19 Page 2 of 12
P.S. PLEASE NOTE: The contents of this email have been software dictated and not read or edited. Please
excuse any misspellings, typographical errors, or grammatical misstatements due to the software's limitations.
E. nicholas@nria.net
Website:
http://nria.net
Important Reiteration of your Disclosures Agreement: To use NRIA information and services you agree that
no information provided herein or elsewhere by NRIA, or any of its shareholders, directors, officers,
members, employees, agents, attorneys, accountants, referred mortgage brokers, lenders, or consultants
(collectively, the "Associates"), is intended nor should be construed as securities, economic, tax, investment,
legal, or other advice.
All information, material and content contained herein or supplied by NRIA at any time is provided on an "as
is" basis without warranty of any kind, either express or implied, including but not limited to the implied
warranties of merchantability, or fitness for a particular purpose.
Moreover, the information is provided for informational purposes only under the terms & conditions found on
the NRIA website, in the NRIA Disclosures and Acknowledgements Agreement you have been provided and
the Project Management Agreement and is not intended to be a substitute for your own due diligence and
independent research each prospective real estate owner should perform as to any real estate purchase, nor is
it claimed to be a complete study of the legal, tax, economic, logistic, geographic, demographic, investment ,
valuation, rental or other conditions and characteristics concerning the real estate opportunities presented by
NRIA, or any of its Associates to prospective purchasers of real estate. Please see your Disclosure &
Acknowledgements Agreement signed , and our website for your exact terms and conditions of services at
any time. This electronic message and any attachment(s) hereto is confidential and may contain information
protected by the attorney-client work product or other confidentiality privilege. It is intended for the exclusive
use of the recipient named above. If you are not the intended recipient, please do not disclose, copy or
distribute this information. Please notify this firm of your receipt immediately by return electronic e-mail or




                                                                                                                     Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
by telephone at (201) 210-2727 and destroy the message and its attachment(s).
-----Original Message-----
From: Kelly Ralabate [mailto:kralabate@ccfv.com]
Sent: Friday, July 31, 2015 10:30 AM
To: Nicholas Salzano; jmf@usconstructioninc.com
Cc: Dustin@usconstructioninc.com; James Doolittle; Javier Torres
(jtorres@mediaeffective.com)
Subject: RE: Edits and 30 second TV videos
Apologies, I'm not sure why the MOV link redirected to the WAV folder.
Please try this one instead and let me know if you are able to download the
9 MOV videos.




                                                                                                                                             Plaintiffs Ex. 19 Page 3 of 12
https://www.dropbox.com/sh/l3vojstqw6hk7r6/AADhDHxlq5gdGoc5Dco0AujIa?dl=0
From: Nicholas Salzano [nicholas@nria.net]
Sent: Thursday, July 30, 2015 6:36 PM
To: Kelly Ralabate; jmf@usconstructioninc.com
Cc: Dustin@usconstructioninc.com; James Doolittle; Javier Torres
(jtorres@mediaeffective.com)
Subject: RE: Edits and 30 second TV videos
Hi Kelly
Same comment - just send us the 8 or 9 finished videos. When each of the 30 seconds. When each of the 60
seconds.
Thanks so much
Nicholas Salzano
Senior Independent Project Management Vice President
From: Kelly Ralabate [mailto:kralabate@ccfv.com]
Sent: Thursday, July 30, 2015 12:49 PM
To: Nicholas Salzano; jmf@usconstructioninc.com
Cc: Dustin@usconstructioninc.com; James Doolittle; Javier Torres
(jtorres@mediaeffective.com)
Subject: RE: Edits and 30 second TV videos
All nine MOV files are now available for download at this private link:
https://www.dropbox.com/sh/m03kt4awlo6b2v9/AAAql6OWOCtPW1sso79eiziRa?dl=0
The WAVs are uploading now to their own folder - stay tuned!
________________________________
From: Nicholas Salzano [mailto:nicholas@nria.net]
Sent: Wednesday, July 29, 2015 5:54 PM
To: Kelly Ralabate;
jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; James Doolittle; Javier Torres




                                                                                                                  Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
(jtorres@mediaeffective.com<mailto:jtorres@mediaeffective.com>)
Subject: RE: Edits and 30 second TV videos
Hi Kelly,
I just got to this and it is just too much to download. These things are massive amounts of data.
Can you please send them each to drop box links I believe that will work much faster.
Please advise
Nicholas Salzano
Senior Independent Project Management Vice President
National Realty Investment Advisors, LLC
1325 Paterson Plank Road
2nd Floor




                                                                                                                                          Plaintiffs Ex. 19 Page 4 of 12
Secaucus, New Jersey 07094
T. (201) 210-2727
F. (800) 349-0925
C. (973) 689-5482
P.S. PLEASE NOTE: The contents of this email have been software dictated and not read or edited. Please
excuse any misspellings, typographical errors, or grammatical misstatements due to the software's limitations.
E. nicholas@nria.net<mailto:nicholas@nria.net>
Website:
http://nria.net<http://nria.net/>
Important Reiteration of your Disclosures Agreement: To use NRIA information and services you agree that
no information provided herein or elsewhere by NRIA, or any of its shareholders, directors, officers,
members, employees, agents, attorneys, accountants, referred mortgage brokers, lenders, or consultants
(collectively, the "Associates"), is intended nor should be construed as securities, economic, tax, investment,
legal, or other advice.
All information, material and content contained herein or supplied by NRIA at any time is provided on an "as
is" basis without warranty of any kind, either express or implied, including but not limited to the implied
warranties of merchantability, or fitness for a particular purpose.
Moreover, the information is provided for informational purposes only under the terms & conditions found on
the NRIA website, in the NRIA Disclosures and Acknowledgements Agreement you have been provided and
the Project Management Agreement and is not intended to be a substitute for your own due diligence and
independent research each prospective real estate owner should perform as to any real estate purchase, nor is
it claimed to be a complete study of the legal, tax, economic, logistic, geographic, demographic, investment ,
valuation, rental or other conditions and characteristics concerning the real estate opportunities presented by
NRIA, or any of its Associates to prospective purchasers of real estate. Please see your Disclosure &
Acknowledgements Agreement signed , and our website for your exact terms and conditions of services at
any time. This electronic message and any attachment(s) hereto is confidential and may contain information
protected by the attorney-client work product or other confidentiality privilege. It is intended for the exclusive
use of the recipient named above. If you are not the intended recipient, please do not disclose, copy or
distribute this information. Please notify this firm of your receipt immediately by return electronic e-mail or




                                                                                                                     Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
by telephone at (201) 210-2727 and destroy the message and its attachment(s).
From: Kelly Ralabate [mailto:kralabate@ccfv.com]
Sent: Tuesday, July 28, 2015 2:03 PM
To: Nicholas Salzano;
jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; James Doolittle; Javier Torres
(jtorres@mediaeffective.com<mailto:jtorres@mediaeffective.com>); Kelly Ralabate
Subject: RE: Edits and 30 second TV videos
Good afternoon - please follow this link to find the final assets:
http://clientshare.ccfv.com<http://clientshare.ccfv.com/>
username & password: natlrealty




                                                                                                                                             Plaintiffs Ex. 19 Page 5 of 12
You'll see 10 files available for download:
1)    Zipped folder containing 36 wav files of the audio mixes & splits
2)    :60 Asian Investor - Version A
3)    :60 Indian Investor - Version A
4)    :60 Caucasian Investor - Version A
5)    :60 Asian Investor - Version B
6)    :60 Indian Investor - Version B
7)    :60 Caucasian Investor - Version B
8)    :30 Caucasian Investor
9)    :30 Indian Investor
10) :30 Asian Investor
Please let me know if you have any issues with the download site or the files. Thanks!
Best,
Kelly
Kelly Ralabate, Producer
Center City Film & Video
(O) 267-597-3551
(F) 267-597-3539
www.ccfv.com<http://www.ccfv.com>
________________________________
From: Nicholas Salzano [mailto:nicholas@nria.net]
Sent: Friday, July 24, 2015 5:07 PM
To: Kelly Ralabate;
jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; James Doolittle; Javier Torres
(jtorres@mediaeffective.com<mailto:jtorres@mediaeffective.com>)
Subject: RE: Edits and 30 second TV videos
Ok all approved and good to go
Run the same changes on ALL VERSIONS of course
1st we need MP4's and Drop Box Links
Javier will communicate broadcast requirements for next week
Nicholas Salzano
Senior Independent Project Management Vice President




                                                                                                        Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
From: Kelly Ralabate [mailto:kralabate@ccfv.com]
Sent: Friday, July 24, 2015 2:23 PM
To: Kelly Ralabate;
jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Nicholas Salzano;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; James Doolittle
Subject: RE: Edits and 30 second TV videos
Checking in - if these need to deliver today, would need approval by 2:45p to have time to create the
files. Many thanks!
________________________________
From: Kelly Ralabate




                                                                                                                                Plaintiffs Ex. 19 Page 6 of 12
Sent: Friday, July 24, 2015 11:12 AM
To: Kelly Ralabate;
jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Nicholas Salzano;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; James Doolittle
Subject: RE: Edits and 30 second TV videos
Presenting the two Investor Ken spots with the transition SFX removed and the olive lover third text
bolded. Looking forward to your thoughts!
https://vimeo.com/centercityvideo/review/134416825/2efa8afd1e
https://vimeo.com/centercityvideo/review/134416826/c7e059d190
________________________________
From: Kelly Ralabate
Sent: Friday, July 24, 2015 9:41 AM
To: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Nicholas Salzano;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; James Doolittle
Subject: Re: Edits and 30 second TV videos
Got it - We will make a version with the olive text bolded and post for you shortly.
On Jul 23, 2015, at 6:13 PM,
"jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>"
<jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>> wrote:
No its tough to see. If you want the color I would say to make it bold.
James can you make it larger font and bold then?
Regards,
John M. Farina,
President
U.S. Construction, Inc.
400 Market Street, Suite 415
Philadelphia, PA 19106
O: 215-735-3718




                                                                                                                 Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
F: 267-569-2111
C: 201-705-3955
From: Nicholas Salzano [mailto:nicholas@nria.net]
Sent: Thursday, July 23, 2015 6:07 PM
To: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>; Kelly Ralabate;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>;
James Doolittle
Subject: RE: Edits and 30 second TV videos
John,
It's actually the NRIA olive green be used. It presents fairly well on a good computer screen and I think will
be fine for television. They also flip-flop the phone number between olive green and black. It is black on the




                                                                                                                                         Plaintiffs Ex. 19 Page 7 of 12
last screen.
Are you viewing it on a cell phone?
Nicholas Salzano
Senior Independent Project Management Vice President
National Realty Investment Advisors, LLC
1325 Paterson Plank Road
2nd Floor
Secaucus, New Jersey 07094
T. (201) 210-2727
From: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
[mailto:jmf@usconstructioninc.com]
Sent: Thursday, July 23, 2015 5:58 PM
To: Kelly Ralabate;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; James Doolittle; Nicholas Salzano
Subject: RE: Edits and 30 second TV videos
The phone number can we do in black I can barely see the yellow?
Regards,
John M. Farina,
President
U.S. Construction, Inc.
400 Market Street, Suite 415
Philadelphia, PA 19106
O: 215-735-3718
F: 267-569-2111
C: 201-705-3955
From: Kelly Ralabate [mailto:kralabate@ccfv.com]
Sent: Thursday, July 23, 2015 4:16 PM
To: Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; James Doolittle; Nicholas
Salzano




                                                                                                        Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
Cc: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Subject: RE: Edits and 30 second TV videos
We certainly can. Are there any other notes on today's revisions? Thanks!
________________________________
From: Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>
[mailto:Dustin@usconstructioninc.com]
Sent: Thursday, July 23, 2015 3:17 PM
To: Kelly Ralabate; James Doolittle; Nicholas Salzano
Cc: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Subject: RE: Edits and 30 second TV videos
Hi Kelly,




                                                                                                                                Plaintiffs Ex. 19 Page 8 of 12
Can we eliminate the fairy dust sound that plays when the light flashes?
Example: Second 34
-Dustin
From: Kelly Ralabate [mailto:kralabate@ccfv.com]
Sent: Thursday, July 23, 2015 3:06 PM
To: James Doolittle; Nicholas Salzano
Cc: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; Kelly Ralabate
Subject: RE: Edits and 30 second TV videos
Good afternoon - please review the :60 and :30 spots addresses the below notes here:
https://vimeo.com/centercityvideo/review/134318256/704982b6d8
https://vimeo.com/centercityvideo/review/134318255/89ed32752e
Let us know if you would like these changes applied to all spots and then readied for final delivery.
Best,
Kelly
Kelly Ralabate, Producer
Center City Film & Video
(O) 267-597-3551
(F) 267-597-3539
www.ccfv.com<http://www.ccfv.com>
________________________________
From: James Doolittle
Sent: Thursday, July 23, 2015 2:50 PM
To: Nicholas Salzano
Cc: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; Kelly Ralabate
Subject: Re: Edits and 30 second TV videos
---- sent from the falcon
On Jul 23, 2015, at 9:12 AM, Nicholas Salzano <nicholas@nria.net<mailto:nicholas@nria.net>> wrote:




                                                                                                                  Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
OK
Nicholas Salzano
Senior Independent Project Management Vice President
National Realty Investment Advisors, LLC
1325 Paterson Plank Road
2nd Floor
Secaucus, New Jersey 07094
T. (201) 210-2727
F. (800) 349-0925
C. (973) 689-5482
P.S. PLEASE NOTE: The contents of this email have been software dictated and not read or edited. Please




                                                                                                                                          Plaintiffs Ex. 19 Page 9 of 12
excuse any misspellings, typographical errors, or grammatical misstatements due to the software's limitations.
E. nicholas@nria.net<mailto:nicholas@nria.net>
Website:
http://nria.net<http://nria.net/>
Important Reiteration of your Disclosures Agreement: To use NRIA information and services you agree that
no information provided herein or elsewhere by NRIA, or any of its shareholders, directors, officers,
members, employees, agents, attorneys, accountants, referred mortgage brokers, lenders, or consultants
(collectively, the "Associates"), is intended nor should be construed as securities, economic, tax, investment,
legal, or other advice.
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is" basis without warranty of any kind, either express or implied, including but not limited to the implied
warranties of merchantability, or fitness for a particular purpose.
Moreover, the information is provided for informational purposes only under the terms & conditions found on
the NRIA website, in the NRIA Disclosures and Acknowledgements Agreement you have been provided and
the Project Management Agreement and is not intended to be a substitute for your own due diligence and
independent research each prospective real estate owner should perform as to any real estate purchase, nor is
it claimed to be a complete study of the legal, tax, economic, logistic, geographic, demographic, investment ,
valuation, rental or other conditions and characteristics concerning the real estate opportunities presented by
NRIA, or any of its Associates to prospective purchasers of real estate. Please see your Disclosure &
Acknowledgements Agreement signed , and our website for your exact terms and conditions of services at
any time. This electronic message and any attachment(s) hereto is confidential and may contain information
protected by the attorney-client work product or other confidentiality privilege. It is intended for the exclusive
use of the recipient named above. If you are not the intended recipient, please do not disclose, copy or
distribute this information. Please notify this firm of your receipt immediately by return electronic e-mail or
by telephone at (201) 210-2727 and destroy the message and its attachment(s).
From: James Doolittle [mailto:jdoolittle@ccfv.com]
Sent: Wednesday, July 22, 2015 11:05 PM
To: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Nicholas Salzano;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>




                                                                                                                     Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
Subject: RE: Edits and 30 second TV videos
Gents, after reviewing, my druthers are to build on the lower third after the first "transition" to the overhead
construction site shots, around 6 or so seconds in. We'll hold in place thru the final transition ahead of final
shot.
Will hoist new edits first AM for both a test 30 and 60 for final approval ahead of re-affecting all.
________________________________
From: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
[mailto:jmf@usconstructioninc.com]
Sent: Wednesday, July 22, 2015 4:50 PM
To: James Doolittle
Cc: Nicholas Salzano;




                                                                                                                                            Plaintiffs Ex. 19 Page 10 of 12
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>
Subject: RE: Edits and 30 second TV videos
What ever looks best
Regards,
John M. Farina,
President
U.S. Construction, Inc.
400 Market Street, Suite 415
Philadelphia, PA 19106
O: 215-735-3718
F: 267-569-2111
C: 201-705-3955
From: James Doolittle [mailto:jdoolittle@ccfv.com]
Sent: Wednesday, July 22, 2015 4:08 PM
To: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Nicholas Salzano;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>
Subject: Re: Edits and 30 second TV videos
So are we to place the lower third across the entire spot?
On Jul 22, 2015, at 4:06 PM,
"jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>"
<jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>> wrote:
For both 30 & 60 my friend.
Regards,
John M. Farina,
President
U.S. Construction, Inc.
400 Market Street, Suite 415
Philadelphia, PA 19106
O: 215-735-3718




                                                                                                               Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
F: 267-569-2111
C: 201-705-3955
From: James Doolittle [mailto:jdoolittle@ccfv.com]
Sent: Wednesday, July 22, 2015 3:59 PM
To: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Nicholas Salzano;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>
Subject: Re: Edits and 30 second TV videos
So right now - not enough number displayed in 30 / on it.
---- sent from the falcon
On Jul 22, 2015, at 3:46 PM,




                                                                                                                                      Plaintiffs Ex. 19 Page 11 of 12
"jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>"
<jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>> wrote:
James the phone number has to be displayed more prominently throughout the short as well as this is a direct
response add.
Regards,
John M. Farina,
President
U.S. Construction, Inc.
400 Market Street, Suite 415
Philadelphia, PA 19106
O: 215-735-3718
F: 267-569-2111
C: 201-705-3955
From: Nicholas Salzano [mailto:nicholas@nria.net]
Sent: Wednesday, July 22, 2015 2:08 PM
To: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
Cc: Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>; James Doolittle
<jdoolittle@ccfv.com<mailto:jdoolittle@ccfv.com>>
(jdoolittle@ccfv.com<mailto:jdoolittle@ccfv.com>)
Subject: Edits and 30 second TV videos
Edits below
Nicholas Salzano
Senior Independent Project Management Vice President
From: jmf@usconstructioninc.com<mailto:jmf@usconstructioninc.com>
[mailto:jmf@usconstructioninc.com]
Sent: Monday, July 20, 2015 4:32 PM
To: Nicholas Salzano;
Dustin@usconstructioninc.com<mailto:Dustin@usconstructioninc.com>
Subject: 30's
https://vimeo.com/centercityvideo/review/133779844/fe3b3bad63
https://vimeo.com/centercityvideo/review/133780046/7c54ad4eb7
On the above 2 clips add graphics in the open areas/white space as follows:




                                                                                                            Case 23-01335-JKS   Doc 84-9 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
Second 17 - "30% Returns on Real Estate"
Second 24 - "100% Satisfaction Guaranteed Investment Realty"
Seconds 28 - "Call Now Only Limited Properties Available" - this should replace the existing board and be
much larger. The logo can remain.
https://vimeo.com/centercityvideo/review/133779908/3e570b7344
Second 15 - "30% Returns on Real Estate"
Seconds 21 - "100% Satisfaction Guaranteed Investment Realty"
Second 28 - "Call Now Only Limited Properties Available" - this should replace the existing board and be
much larger. The logo can remain.
Regards,
John M. Farina,




                                                                                                                                   Plaintiffs Ex. 19 Page 12 of 12
President
U.S. Construction, Inc.
400 Market Street, Suite 415
Philadelphia, PA 19106
O: 215-735-3718
F: 267-569-2111
C: 201-705-3955
